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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
KHALEEM ASIATIC ALLAH, BEY,                        :
                                                   :
                      Plaintiff,                   :
                                                   :   Civil Action No. 2:15-cv-04540-PBT
       v.                                          :
                                                   :
BRETT A. ROBERTS; STEVEN M. JONES;                 :
KENNETH S. BOOTH, DOUGLASS W.                      :
BUSK; and CREDIT ACCEPTANCE                        :
CORPORATION,                                       :
                                                   :
                      Defendants.                  :
                                                   :

                     CORPORATE DISCLOSURE STATEMENT
               OF DEFENDANT CREDIT ACCEPTANCE CORPORATION

       Defendant Credit Acceptance Corporation (“Credit Acceptance”) hereby makes the

following disclosure pursuant to Federal Rule of Civil Procedure 7.1:

       Credit Acceptance states that: (i) there is no parent corporation of Credit Acceptance; and

(ii) there is no publicly held corporation that owns 10% or more of Credit Acceptance’s stock.

                                             s/ Thomas M. Brodowski____________________
                                             Eric M. Hurwitz, Esquire
                                             Thomas M. Brodowski, Esquire
                                             STRADLEY RONON STEVENS & YOUNG, LLP
                                             LibertyView
                                             457 Haddonfield Road, Suite 100
                                             Cherry Hill, NJ 08002
                                             (856) 321-2400

                                             Attorneys for Defendants,
                                             Brett A. Roberts, Steven M. Jones,
                                             Kenneth S. Booth, Douglas W. Busk, and
                                             Credit Acceptance Corporation

Dated: October 22, 2015
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                                CERTIFICATE OF SERVICE

               I, Thomas M. Brodowski, hereby certify that on October 22, 2015, I filed the

foregoing Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 with the Clerk of the

Court using the ECF system. I further certify that on this date, I caused a true and correct copy

of the foregoing to be sent to the following via First Class United States Mail and electronic

mail:

                                   Khaleem Asiatic Allah-Bey
                                    1438 South Vodges Street
                                     Philadelphia, PA 19143
                                 rssmithselfinc@rocketmail.com
                                             Plaintiff



                                              s/ Thomas M. Brodowski_______________
                                              Thomas M. Brodowski
